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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )
                                                )            CASE NO. 8:01CR272
       vs.                                      )
                                                )
LEVI BROWN,                                     )
                                                )
                                                )                      ORDER
                      Defendant.

       This matter comes on to consider the government’s motion for reduction of sentence

pursuant to Rule 35(b) and request for hearing. Filing No. 398. Having considered the matter,

       IT IS ORDERED that:

       1.     The government’s request for hearing, Filing No. 398, is granted.

       2.     A hearing on the government’s motion for reduction of sentence pursuant to Rule
              35(b) has been set before the undersigned United States district judge on
              September 15, 2005 at 1:00 p.m. in Courtroom No. 2, Roman L. Hruska U.S.
              Courthouse, 111 South 18th Plaza, Omaha, Nebraska.

       3.     Counsel for the defendant, if previously appointed pursuant to the Criminal
              Justice Act, is reappointed to represent the defendant for purposes of the Rule
              35(b) motion. If retained, counsel for the defendant remains as counsel for the
              defendant until the Rule 35(b) motion is resolved or until given leave to withdraw.

       4.     The Marshal is directed to return the defendant to the district for this

              hearing. If the defendant at a later date decides to waive his right to be

              present at the hearing, he may do so (at least 6 weeks prior to the hearing)

              by contacting his attorney who shall then inform the court and the U.S.

              Marshal of defendant's decision. In that event, the defendant may

              participate telephonically in the hearing by informing his attorney, who in

              turn shall supply this court with a telephone number at which the

              defendant may be reached for the hearing.



       Dated this 8th day of September, 2005.

                                                    BY THE COURT:

                                                    s/ Laurie Smith Camp
                                                    United States District Judge
